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    Artis-Ray:Cash, Jr.
 1 453 South Spring Street
    Suite 400 PMB 1211
                                                                                              2a25 J ~ 2~ P►'~ ; S~'
 2 Los Angeles, CA 90013
                                                                                                                  _; ; ,
   (831)3A~6-2562                                                                                  f, ~';:     , ~ . :r
 3
    artiscash~r@yahoo.com                                                                              .:      R,~t,-
 4
     Plaintiff in Pro Per                                                                                    ~~5~ , ~_
 5

 6                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 7

 8
     ARTIS-RAY: CASH JR.,                                        CASE NO.:
 9
                                                                  Q':~~~Ja01~`~"~~~"~
10   Plaintiff,                                                   D

11                    vs.                                        COMPLAINT for violations of the
12                                                               Fair Credit Reporting Act (15 U.S.C.
                                                                  1681 et seq.) and the Fair Debt
     EXPERIAN INFORMATION                                         ollection Practices Act (15 U.S.C. §
13
     SOLUTIONS, INC.,                                            1692 et seq.)
14   MONTEREY FINANCIAL SERVICES,
15
     LLC,

16   Defendants.
17

18   Artis-Ray: Cash Jr., Plaintiff, brings this Complaint against Experian Information Solutions, Inc.

19   ("Experian") and Monterey Financial Services LLC ("Monterey") for violations of federal and
20
     state law. Plaintiff alleges as follows:
21

22   JURISDICTION AND VENUE

23
         1. This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this action arises under
24
            the Fair Credit Reporting Act ("FCRA"), 15 U.S.C. §§ 1681 et seq., and the Fair Debt
25

26          Collection Practices Act ("FDCPA"), 15 U.S.C. §§1692 et seq. Supplemental jurisdiction

27          over state law claims is conferred by 28 U.S.C. § 1367.

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        2. Venue is proper in this Court under 28 U.S.C. § 1391(b) because the Defendants conduct
 1

 2         business in this District and a substantial part of the events giving rise to the claims

 3         occurred here.
 4
     PARTIES
 5

 6      3. Plaintiff, Artis-Ray: Cash Jr., is a natural person residing in Los Angeles, California, and
 7
           is a "consumer" as defined by 15 U.S.C. §§1681a(c) and 1692a(3).
 8

 9      4. Defendant Experian Information Solutions, Inc., is a credit reporting agency as defined

10         under 15 U.S.C. § 1681 a(fl.
11
        5. Defendant Monterey Financial Services LLC is a debt collection company and a "debt
12

13         collector" as defined by 15 U.S.C. § 1692a(6).

14
     FACTUAL ALLEGATIONS
15

16   Against Experian:

17
        6. On or about 12/20/2024, Plaintiff disputed a particular item on an account on his credit
18
           report furnished by Monterey Financial Services LLC with Experian.
19

20      7. Experian failed to conduct a reasonable investigation of Plaintiff's dispute, as required

21         under 15 U.S.C. § 1681 s-2(b), including failing to ensure the completeness and accuracy
22
           of the account in question.
23

24      8. Experian also violated California's Consumer Credit Reporting Agencies Act

25        (CCCRAA), Civil Code § 1785.25(a), by failing to ensure that the information reported
26
           was accurate and complete.
27

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        9. Experian's failures caused Plaintiff harm,including but not limited to damage to
 1
 2         Plaintiff's creditworthiness and emotional distress.

 3
     Against Monterey Financial Services LLC:
 4
 5      lO.Monterey Financial Services LLC acted as a furnisher of credit information to Experian

 6         and other credit reporting agencies and is required to comply with 15 U.S.C. § 1681s-
 7
           2(b).
 8
 9      1 1.Despite receiving notice ofPlaintiffls dispute from Experian, Monterey Financial

10         Services LLC failed to conduct a reasonable investigation and failed to correct inaccurate
11         and incomplete information about Plaintiff's account.
12
13      12.Monterey Financial Services LLC failed to provide accurate and complete information to

14         Experian, resulting in further violations of 15 U.S.C. § 1681 s-2(b) and California Civil
15         Code § 1785.25(a).
16
        13.Monterey Financial Services LLC contacted Plaintiff via text messages and phone calls a
17
18         unusual and inconvenient times and places, in violation of 15 U.S.C. § 1692c(a)(1) and

19         California's Rosenthal Fair Debt Collection Practices Act(RFDCPA), Civil Code §
20
           1788.14(c).
21
22      14.Monterey Financial Services LLC's text messages and phone calls were made with the

23         intent to annoy, abuse, and harass Plaintiff, in violation of 15 U.S.C. § 1692d and
24
           RFDCPA § 1788.11(d).
25
26      15.Monterey Financial Services LLC failed to disclose in their text messages that they were

27         a debt collector, as required by 15 U.S.C. § 1692e(11)and RFDCPA ~ 1788.13.
28



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         16.After Plaintiff explicitly refused to pay the alleged debt, Monterey Financial Services
 1
 2           LLC continued to contact Plaintiff via text messages and phone calls, in violation of 15

 3           U.S.C. § 1692c(c) and RFDCPA § 1788.17.
 4
         17.Monterey Financial Services LLC engaged in unfair communication practices by sending
 5

 6           Plaintiff text messages without providing a way for Plaintiff to respond directly through

 7           the same medium, in violation of 15 U.S.C. § 1692f and RFDCPA § 1788.13(k).
 8
     CLAIMS FOR RELIEF
 9
10   COUNT I: VIOLATION OF THE FAIR CREDIT REPORTING ACT (15 U.S.C.§ 1681s-
11
     2(b))
12
         18.Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
13

14       19.Experian failed to conduct a reasonable investigation of Plaintiffls dispute and failed to
15
             ensure the accuracy and completeness ofthe disputed account.
16

17      20.Monterey Financial Services LLC,as a furnisher of credit information, failed to conduct

18           a reasonable investigation of Plaintiff's dispute after receiving notice from Experian, in
19
             violation of 15 U.S.C. § 1681 s-2(b).
20

21      21.Both Defendants' failures caused Plaintiff to suffer actual damages, including harm to

22           creditworthiness, frustration, and emotional distress.
23
     COUNT II: VIOLATION OF THE CALIFORNIA CONSUMER CREDIT REPORTING
24
25   AGENCIES ACT(CIVIL CODE § 1785.25(A))

26
        22.Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
27

28



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             COMPLAINT for violations of the Fair Credit Reporting Act and the Fair Debt Collection Practices Act
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         23.Experian and Monterey Financial Services LLC furnished inaccurate and incomplete
 1
 2          information to Plaintiff's credit report in violation of California Civil Code § 1785.25(a).

 3
         24.As a result, Plaintiff suffered actual damages, including harm to creditworthiness and
 4
            emotional distress.
 5
 6   COUNT III: VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT(15
 7
     U.S.C. §§ 1692c(a)(1), 1692c(c), 1692d, 1692e(11), 1692fj
 8
 9      25.Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

10
        26.Monterey Financial Services LLC violated: a. 15 U.S.C. § 1692c(a)(1) by contacting
11
           Plaintiff at an unusual time and place; b. 15 U.S.C. § 1692d by engaging in behavior
12
13          intended to harass and annoy Plaintiff; c. 15 U.S.C. § 1692e(11) by failing to disclose

14          their status as a debt collector in their text messages; d. 15 U.S.C. § 1692c(c) by

15         continuing to contact Plaintiff after Plaintiff refused to pay the alleged debt; and e. 15
16
            U.S.C. § 1692f by employing unfair communication methods without a way for Plaintiff
17
            to respond to their text messages.
18

19   COUNT IV: VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
20
     PRACTICES ACT(CIVIL CODE § 1788 ET SEQ.)
21
22      27.Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.

23
        28.Monterey Financial Services LLC violated: a. Civil Code § 1788.11(d) by engaging in
24
           conduct intended to harass and annoy Plaintiff; b. Civil Code § 1788.14(c) by contacting
25

26         Plaintiff at an unusual and inconvenient time and place; c. Civil Code § 1788.13 by

27         failing to disclose their status as a debt collector in text messages; and d. Civil Code §

28          1788.17 by continuing to contact Plaintiff after Plaintiff refused to pay the alleged debt.


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         29.As a result, Plaintiff suffered actual damages,including emotional distress and
 1
 2          frustration.

 3
     COUNT V: VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
 4
     (BUSINESS AND PROFESSIONS CODE § 17200 ET SEQ.)
 5
 6       30.Plaintiff incorporates by reference all preceding paragraphs as if fully set forth herein.
 7
         31.The unlawful practices of Experian and Monterey Financial Services LLC,as described
 8
 9          above, constitute unfair business practices in violation of California Business and

10          Professions Code § 17200 et seq.
11
         32.As a result, Plaintiff suffered damages and seeks restitution and injunctive relief.
12
13   PRAYER FOR RELIEF
14
     WHEREFORE,Plaintiff respectfully requests that this Court:
15
16       1. Award actual damages pursuant to 15 U.S.C. §§1681n(a)(1)(A), 1692k(a)(1), and
17
            California Civil Code §§1788.30;
18
19      2. Award statutory damages pursuant to 15 U.S.C. §§1681n(a)(1)(B), 1692k(a)(2)(A), and

20          California Civil Code §§1788.30(b);
21
        3. Award punitive damages as allowed by law;
22
23      4. Award costs and reasonable attorney's fees pursuant to 15 U.S.C. §§1681n(c), 1692k(a)
24
          (3), and California Civil Code §§1788.30(c);
25
26      5. Grant injunctive relief requiring Defendants to comply with their obligations under the

27         FCRA,FDCPA,CCCRAA,and RFDCPA;
28



                                                            6

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         6. Grant restitution pursuant to California Business and Professions Code § 17203; and
 1
 2       7. Grant such other and further relief as the Court deems just and proper.
 3
     DEMAND FOR JURY TRIAL
 4
 5   Plaintiff demands a trial by jury on all issues so triable.
 6
 7
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 9
     Respectfully submitted,
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     Dated: O l/29/2025
12
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     Artis-Ray: Cash Jr.,
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16   Plaintiff In Pro Per
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     Under Federal Rule of Civil Procedure 11, by signing below,I certify to the best of my
 1
     knowledge, information, and belief that this complaint:(1) is not being presented for an impropf
 2
     purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
 3
                       existing law or by a non frivolous argument for extending, modifying,or
 4 (2) is supported by
 5   reversing existing law;(3) the factual contentions have evidentiary support or, if specifically so

 6   identified, will likely have evidentiary support after a reasonable opportunity for further

 7   investigation or discovery; and (4) the complaint otherwise complies with the requirements of

 8   Rule 11.
 9   I agree to provide the Clerk's Office with any changes to my address where case-related papers
10   may be served. I understand that my failure to keep a current address on file with the Clerk's
11   Office may result in the dismissal of my case.
12
13
14                                                                                                 Y
     Date: O 1/29/2025
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                                                                          Artis-Ray: Cash Jr.
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                                                                          Plaintiff in Pro Per
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